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                          UNITED STATES BANKRUPTCY COURT
                              DISTRICT OF RHODE ISLAND

IN RE:                                        :
                                              :              BK NO. 25-10270
TALLULAH’S TAQUERIA, LLC,                     :
                                              :              Chapter 11 (Subchapter V)
         Debtor.                              :

                   SUBCHAPTER V TRUSTEE’S LIMITED OBJECTION TO
                   MOTION TO DISMISS OR CONVERT CHAPTER 11 CASE

         Joseph M. DiOrio, the duly appointed Subchapter V Trustee (“Trustee”) of Tallulah’s

Taqueria, LLC (“Tallulah”), a Rhode Island limited liability company, hereby objects on a

limited basis to the Motion of United States Trustee to Dismiss or Convert Chapter 11 Case, filed

on June 27, 2025 (the “Motion”). In support thereof, the Trustee states as follows:

         1. On April 11, 2025, Joseph M. DiOrio was appointed as Subchapter V Trustee of

            Tallulah.

         2. Since his appointment, Trustee has incurred $3,496.50 in attorney’s fees and $161.85

            in expenses, for a total of $3,658.35 (“Trustee’s Fees”), in connection with his

            performance of his responsibilities in this case. A true and accurate copy of the

            invoices detailing Trustee’s Fees are attached hereto as Exhibit A.

         3. The Trustee respectfully requests that the dismissal of the case be conditioned on the

            payment of Trustee’s Fees.

         WHEREFORE, the Trustee respectfully objects on a limited basis to the Motion and

requests the Court condition the dismissal of the case on payment of Trustee’s Fees.
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                                                     Respectfully submitted:

                                                     Joseph M. DiOrio, Subchapter V Trustee

                                                     /s/ Joseph M. DiOrio

                                                     Joseph M. DiOrio (#2616)
                                                     Pannone Lopes Devereaux & O’Gara LLC
                                                     1301 Atwood Avenue, Suite 215 N
                                                     Johnston, RI 02919
                                                     (401) 824-5180/Fax: (401) 824-5123
                                                     jdiorio@pldolaw.com
Dated: July 2, 2025


                                       CERTIFICATION

        I hereby certify that on this 2nd day of July, 2025, I electronically filed the foregoing
document in the above-captioned matter with the Clerk of the Bankruptcy Court for the District of
Rhode Island using the CM/ECF System. The following participants will receive notice
electronically:

       •   Daniel E. Burgoyne dburgoyne@psh.com, kfrancois@psh.com
       •   Matthew J. McGowan Mmcgowan@sklawri.com, kgerman@sklawri.com
       •   Thomas P. Quinn tquinn@mclaughlinquinn.com, mwoodside@mclaughlinquinn.com
       •   Sandra Nicolls Sandra.Nicholls@usdoj.gov

        I further certify that on this 2nd day of July, 2025, I have mailed by United States Postal
Service, postage-prepaid, the document to the following non CM-ECF participants and interested
parties on the attached Mailing Matrix.


                                                                            /s/ Joseph M. DiOrio
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                                   EXHIBIT A
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                                                                                                    July 2, 2025
Joseph M. DiOrio                                                                              Invoice # 78868
1301 Atwood Avenue Suite 215 N
Johnston, RI 02919

                                              REMITTANCE
RE: Tallulah's Taqueria, LLC

Client.Matter: 5406 - 10768
Billing Attorney: Joseph M. DiOrio




                       BALANCE DUE THIS INVOICE                                  $ 3,658.35



Payment options are available by clicking on our Payment Portal at www.PLDOLAW.com . While there will be
a processing fee for all Credit Card payments, you may also pay by Debit Card or e-check at no charge. If
paying by check, please include your invoice number on the check and mail to:


                                     PANNONE LOPES DEVEREAUX & O'GARA LLC
                                     ATTN: ACCOUNTS RECEIVABLE
                                     1301 Atwood Avenue, Suite 215N
                                     Johnston, RI 02919


For questions regarding your bill, please contact your Attorney directly. For payment processing assistance,
please contact our Accounting Department at 401-824-5140.


                                           Terms: Net 30 days
                               Thank you!Your business is greatly appreciated.




Tax ID #: XX-XXXXXXX
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                                               Document     Page 5 of 9
                                                                     PANNONE LOPES DEVEREAUX & O'GARA LLC

Invoice #:     78868                                                                                 July 2, 2025

Client.Matter: 5406 . 10768

RE: Tallulah's Taqueria, LLC


PROFESSIONAL SERVICES

  Date       Atty   Description                                                     Hours    Rate       Amount
4/11/25      JMD    Call and email with Sandra Nicholls and David Quinn re            .20   495.00         99.00
                    meeting at business premises and interview of debtor; c
4/11/25      JMD    Prepare statement of disinterestness for court filing             .20   495.00         99.00
4/17/25      JMD    View Ives Street business premises.                               .50   495.00        247.50
4/17/25      JMD    Conduct Debtor's initial interview.                              1.00   495.00        495.00
4/18/25      JMD    Call with Sandra Nicholls re case                                 .15   495.00         74.25
4/18/25      JMD    Call with T. Quinn.                                               .10   495.00         49.50
4/18/25      JMD    Call with S. Nicholls re. cash collateral and case.               .10   495.00         49.50
4/26/25      JMD    Review schedules and tax return                                   .35   495.00        173.25
5/07/25      JMD    Attend 341 Hearing.                                              1.10   495.00        544.50
5/14/25      JMD    Attend Status hearing.                                           1.50   495.00        742.50
5/30/25      JMD    Call with Tom Quinn re status and next steps                      .20   495.00         99.00
5/30/25      JMD    Email from US Trustee's office re MOR                             .10   495.00         49.50
5/31/25      JMD    Review proposed cash collateral order and email to Tom            .50   495.00        247.50
                    Quinn
6/03/25      JMD    Email from Matt McGowan re status.                                .10   495.00         49.50
6/10/25      JMD    Email to Matt McGowan re status                                   .10   495.00         49.50
6/23/25      JMD    Email to Tom Quinn ; review email from UST re MOR status          .10   495.00         49.50
6/24/25      JMD    Call with Tom Quinn re status                                     .20   495.00         99.00
6/25/25      JMD    Email and call with Sandra Nicholls re case status and next       .20   495.00         99.00
                    steps
6/28/25      JP     Draft limited objection.                                          .80   225.00        180.00
                    Total Professional Services                                      7.50             $ 3,496.50

                                         TOTAL PROFESSIONAL SERVICES                                  $ 3,496.50


SUMMARY OF PROFESSIONAL SERVICES

Name                                   Staff Level                      Hours        Rate                  Total
Joseph M. DiOrio                       Partner                           6.70      495.00               3,316.50
Javellys Polanco                       Associate                          .80      225.00                 180.00
Total                                                                    7.50                         $ 3,496.50




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                                                         PANNONE LOPES DEVEREAUX & O'GARA LLC

Invoice #:   78868                                                                   July 2, 2025



DISBURSEMENTS ADVANCED

      Date   Description                                                                Amount
   6//25   Reproduction Cost                                                           114.52
   7/02/25   Postage                                                                      47.53

                                 TOTAL DISBURSEMENTS ADVANCED                           $ 161.85

                                 TOTAL THIS INVOICE                                   $ 3,658.35




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Label Matrix for local noticing                 Ally Document
                                                     Auto               Page 7 of 9             Ally Bank
0103-1                                          PO Box 380902                                   4515 N. Santa Fe Ave. Dept. APS
Case 1:25-bk-10270                              Minneapolis MN 55438-0902                       Oklahoma City, OK 73118-7901
District of Rhode Island
Providence
Wed Jul 2 11:12:53 EDT 2025
Ally Bank c/o AIS Portfolio Services, LLC       American Express                                American Express National Bank
4515 N Santa Fe Ave. Dept. APS                  PO Box 1270                                     c/o Becket and Lee LLP
Oklahoma City, OK 73118-7901                    Newark NJ 07101-1270                            PO Box 3001
                                                                                                Malvern PA 19355-0701


Baldor Specialty Inc                            Daniel E. Burgoyne                              CJ&J Trailer Leasing
155 Food Center Drive                           Partridge Snow & Hahn LLP                       dba Pilotte’s Refrigeration
Bronx NY 10474-7136                             40 Westminster Street, Suite 1100               34 Sears Road
                                                Providence, RI 02903-2527                       Swansea MA 02777-4517


(p)CAINE & WEINER COMPANY                       Chef’s Warehouse                                Christopher P. Rhodes, Esq.
12005 FORD ROAD 300                             249 Food Ctr Drive                              Harrington & Rhodes, Ltd.
DALLAS TX 75234-7262                            Bronx NY 10474                                  270 South County Trail
                                                                                                East Greenwich, RI 02818


Cintas                                          Citrin Cooperman                                Corporation Service Company
P.O. Box 631025                                 500 Exchange Street, Ste 9-100                  801 Adlai Stevenson Drive
Cincinnati OH 45263-1025                        Providence RI 02903-2635                        Springfield IL 62703-4261



Daniel E. Burgoyne, Esq.                        Joseph M. DiOrio                                Easy Ice, LLC
Partridge Snow & Hahn LLP                       Pannone Lopes Devereaux & O’Gara LLC            PO Box 650769
40 Westminster Str, Ste 110                     1301 Atwood Avenue                              Dallas, TX 75265-0769
Providence RI 02903-2527                        Suite 215 N
                                                Johnston, RI 02919-4946

Ecolab Inc.                                     Farm Fresh Rhode Island, LLC                    Financial Agent Services
PO Box 32027                                    10 Sims Avenue                                  P.O. Box 2576
New York NY 10087-2027                          Providence RI 02909-1165                        Springfield IL 62708-2576



Heller Properties LLC                           (p)INTERNAL REVENUE SERVICE                     Internal Revenue Service
Attn: Claude Goldstein                          CENTRALIZED INSOLVENCY OPERATIONS               PO Box 7346
111 Fifth Street                                PO BOX 7346                                     Philadelphia, PA 19101-7346
Providence RI 02906-2801                        PHILADELPHIA PA 19101-7346


Jacob Rojas                                     Kelly Ann Rojas                                 Krost CPA’s
12 Valley Street                                32 Deck Street                                  225 S. Lake Ave., Ste 400
Jamestown RI 02835-1423                         Jamestown RI 02835-2625                         Pasadena CA 91101-3010



Krost CPA’s / Eisner Amper                      Liberty Cleaning Inc.                           Matthew J. McGowan
225 S. Lake Ave                                 25 Stone Drive                                  Sylvia & Kiskfy LLC
Suite 400                                       Cranston RI 02920-1321                          56 Exchange Terrace
Pasadena, CA 91101-3010                                                                         Providence, RI 02903-1772
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Mobile Mini, Inc.                                    (p)NAVIGANT CREDIT UNIONPage 8 of 9
                                                          Document                                        New England Certified Dev Corp
4646 E. Van Buren Street                             1005 DOUGLAS PIKE                                    500 Edgewater Drive, Ste 555
Suite 400                                            SMITHFIELD RI 02917-1206                             Wakefield MA 01880-6232
Phoenix, AZ 85008-6927


Sandra Nicholls                                      Sandra Nicholls                                      North Meadow Properties, LLC
U.S. Trustee’s Office                                Office of the U.S. Trustee                           109 Carr Lane
U.S. Courthouse                                      U.S. Courthouse                                      Jamestown RI 02835-1703
One Exchange Terrace Suite 431                       One Exchange Terrace Suite 431
Providence, RI 02903-1744                            Providence, RI 02903-1744

ODK Capital LLC                                      On Deck Capital                                      Thomas P. Quinn
4700 W Daybreak Pkwy., Ste 200                       901 N Stuart St Ste 700                              McLaughlin & Quinn
South Jordan, UT 84009-5133                          Arlington VA 22203-4129                              148 West River Street, Suite 1E
                                                                                                          Providence, RI 02904-2615


Thomas P. Quinn                                      RI Dept of Labor and Training                        RI Division of Taxation
McLaughlinQuinn LLC                                  Employer Tax Unit                                    Bankruptcy Unit
148 West River Street, Suite 1E                      1511 Pontiac Avenue                                  co Richard P. Smith
Providence, RI 02904-2615                            Cranston RI 02920-4407                               Chief - Collection Section
                                                                                                          One Capitol Hill
                                                                                                          Providence, RI 02908-5816
RI Division of Taxation                              Richard F. Hentz, Esq.                               (p)U S SECURITIES AND EXCHANGE COMMISSION
Attn: Bankruptcy Unit                                McGunagle Hentz, PC                                  ATTN BOSTON REGIONAL OFFICE
One Capitol Hill                                     2088 Broad Street                                    33 ARCH STREET 24TH FLOOR
Providence RI 02908-5801                             Providence RI 02905-3342                             BOSTON MA 02110-1424


State of RI - Labor and Training                     T.F. Kinnealey & Company                             Tallulah’s Taqueria, LLC
Legal Department                                     1100 Pearl Street                                    146 Ives Street
Bldg 72 3rd Floor                                    Brockton MA 02301-5410                               Providence, RI 02906-3829
1511 Pontiac Avenue
Cranston, RI 02920-4407

Tucker, Albin & Associates Inc                       U.S. Small Buisness Admin                            U.S. Small Business Admin
1702 N. Collins Blvd., #100                          2 North 20th Street, Ste 320                         380 Westminster St., Rm. 511
Richardson TX 75080-3662                             Birmingham AL 35203-4002                             Providence RI 02903-3239




                   The preferred mailing address (p) above has been substituted for the following entity/entities as so specified
                   by said entity/entities in a Notice of Address filed pursuant to 11 U.S.C. 342(f) and Fed.R.Bank.P. 2002 (g)(4).


Caine & Weiner                                       Internal Revenue Service                             (d)Internal Revenue Service
P.O. Box 55848                                       Insolvency Unit 4th Floor                            Insolvency Unit - 4th Floor
Sherman Oaks CA 91413                                380 Westminster Street                               380 Westminster Street
                                                     Providence, RI 02903                                 Providence, RI 02903


Navigant Credit Union                                (d)Navigant Credit Union                             Securities and Exchange
1005 Douglas Pike                                    1005 Douglas Pike                                    Boston Regional Office
Smithfield, RI 02917                                 Smithfield RI 02917                                  33 Arch Street 23rd Floor
                                                                                                          Boston, MA 02110-1424
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                 The following recipients may be/have been bypassed for notice due to an undeliverable (u) or duplicate (d) address.


(u)Farm Fresh Rhode Island                           (d)State of RI - Labor and Training                  End of Label Matrix
                                                     Legal Department                                     Mailable recipients   50
                                                     Bldg 72 3rd Floor                                    Bypassed recipients    2
                                                     1511 Pontiac Avenue                                  Total                 52
                                                     Cranston, RI 02920-4407
